Case 1:05-cv-01163-.]DT-STA Document 13 Filed 08/29/05 Page 1 of 3 Page|D 17

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IN THE UNITED sTATEs DIsTRICT CoURT ""lED BY__§Q` DC
FoR THE WESTERN DIsTRICT oF TENNESSEE ' '

osausgg P,., 3:5,

ANNA M. HILL, Individually and as
Personal Representative of the Estate of
CHARLOTTE THOMPSON, Deceased,
JAMES THOMPSON, JULIA T.
HARMON, CLAUDIA THOMPSON,
SHIRLEY THOMPSON, CHARLENE
THOMPSON, PAMELA THOMPSON,
LYDELL THOMPSON, LORINE
AUSTIN, FRANCES DAVIDSON,
LARRY THOMPSON, CLIFTON
THOMPSON, PAULINE THOMPSON
and ROB_ERT C. PURVIS,

 

NO. 1-05-] 163 T/‘AN

Plaintiff,
vs.

GREYHOUND LINES, INC., a
Delaware Corporation, ARC
INTERNATIONAL CORPORATION,
dba TRANS USA CORPORATION and
ALEX YU CHANGE,

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) JUDGE TODD /ANDERSON
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Defendant. )

 

ORDER GRANTING JOINT MOTION TO CONTINUE CASE
MANAGEMENT CONFERENCE

 

Currently, a Case Management Conference in this matter has been set for August 30,
2005 at 10:00 a.m. Because this case is one of seven pending in federal courts arising out of an
accident in J'ackson, Tennessee on August 6, 2004, the parties have requested that the Case
Management Conference be continued until such time as three of the cases can be transferred to
this Court. Therefore, it is Ordered that the August 30, 2005 Case Management Conference is

continued The Court will reschedule the Case Management Conference by separate order.

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IT IS SO ORDERED.
S'/”Z“m,a dan

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

WMZ?,/Zom

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CV-01163 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

